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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

IN RE:                                           )   Case No: 21-41915-399 Chapter 13
JOSHUA MANDELBERGER                              )   Plan Pmt:    $1,565X2; $1,530X58
                                                 )   Term:
                                                 )   MIN $ 9,410.00 to Gen Unsec
                      Debtor                     )   1ST AMENDED

     CERTIFICATION AND ORDER OF CONFIRMATION FOR CHAPTER 13 PLAN

                                         CERTIFICATION
    COMES NOW Diana S. Daugherty, Standing Chapter 13 Trustee, and certifies that: the
Trustee has reviewed the Debtor's schedules and plan, and has conducted a Section 341 meeting
of creditors, and except to the extent the Trustee's objection has been overruled, the Chapter 13
plan complies with all Chapter 13 and other applicable provisions of Title 11 United States Code;
the Debtor has advised that they have made all DSO payments and filed all tax returns as
required by 11.U.S.C. § 1325(a)(8) & (9) or the Trustee's objection has been overruled. The
Debtor is substantially current in their payments to the Trustee; and the Trustee is not aware of
any outstanding objections to confirmation.

Dated: October 07, 2021                              /s/ Diana S. Daugherty, Chapter 13 Trustee
CNFORD--SI
                                                     Diana S. Daugherty, Chapter 13 Trustee
Original Confirmation hearing set for:               P.O. Box 430908
August 04, 2021                                      St. Louis, MO 63143
                                                     (314) 781-8100 Fax: (314) 781-8881
                                                     trust33@ch13stl.com


                                               ORDER
    It is ORDERED that the plan is confirmed; that the Trustee shall distribute any payments
received in conformance with Title 11; that except as provided in 11 U.S.C. § 1304(b), the
Debtor is hereby prohibited during the pendency of this case from in any way encumbering or
disposing of any property of this estate or from incurring any further debt, without prior written
approval of the Court excepting debts incurred for protection of life, health, or property when not
reasonably practical to secure prior approval. The automatic stay under 11 U.S.C. § 362 and
11 U.S.C. § 1301 is terminated as to any collateral listed in 3.9(B) of the plan. Any provision
in the plan providing for special classification and treatment of claims filed after the Bankruptcy
Rule 3002(c) or 11 U.S.C. § 502(b)(9) date shall be void; such claims shall receive treatment
pursuant to 11 U.S.C. § 726(a)(3).




DATED: October 8, 2021                                  Barry S. Schermer
St. Louis, Missouri                                     United States Bankruptcy Judge
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                                       CHAPTER 13 PLAN
Copy mailed to:
JOSHUA MANDELBERGER                             Diana S. Daugherty, Chapter 13 Trustee
4260 CASTLEMAN AVE.                             P.O. Box 430908
SAINT LOUIS, MO 63110                           St. Louis, MO 63143

                                                CONSUMER LAW CENTER OF STL
All Creditors and Parties in Interest           2249 S BRENTWOOD BLVD
                                                BRENTWOOD, MO 63144
